                                OFFICE OF THE FEDERAL PUBLIC DEFENDER
                                        DISTRICT OF MARYLAND
                                                 NORTHERN DIVISION
                                                  TOWER II, 9TH FLOOR
                                              100 SOUTH CHARLES STREET
                                            BALTIMORE, MARYLAND 21201-2705
                                                   TEL: (410) 962-3962
                                                   FAX: (410) 962-0872
                                                TOLL FREE: (855) 213-8450


JAMES WYDA                                                                                        SHARI SILVER DERROW
FEDERAL PUBLIC DEFENDER                                                                      ASSISTANT FEDERAL PUBLIC DEFENDER



          VIA CM/ECF

                                                    March 19, 2020

          The Honorable Richard D. Bennett
          United States District Court
          for the District of Maryland
          101 West Lombard Street
          Baltimore, Maryland 21201

                    Re: United States v. Valleria Rice
                        Criminal Case No. RDB-17-0127

          Dear Judge Bennett:

                 I write to request that the Court issue an order granting Ms. Rice’s immediate release from
          Volunteers of America. United States Probation Officer Rachel Snyder and Assistant United States
          Attorney Clinton Fuchs do not oppose this request.

                  As the Court is aware, on February 12, 2020, Ms. Rice appeared before the Court on alleged
          violations of supervised release. Ms. Rice admitted to being in violation of statutory condition #1
          (the defendant shall not commit any federal, state, or local crime), and the Court imposed a sentence
          of 11 months, with credit for time served in custody since 4/12/19. The Court also imposed a term
          of supervised release of two years, including a condition that upon Ms. Rice’s release from
          imprisonment, she must serve the first sixty days in a community treatment center.

                 Ms. Rice was subsequently released from custody and placed in Volunteers of America in
          Baltimore. She has approximately a month and half remaining on her 60-day placement. However,
          Ms. Rice has informed undersigned counsel and the Probation Office that the Volunteers of
          America has been permitting individuals to come in and out of the facility, despite the ongoing
          health crisis and the continuing spread of the novel coronavirus. Additionally, Ms. Rice has
          informed undersigned counsel and the Probation Office that at least one woman at Volunteers of
          America is sick and has been coughing, although she does not know this woman’s diagnosis.

                  Given the exigency of the situation, Probation and the government do not oppose Ms. Rice
          being released from Volunteers of America or her plan to reside with Keziah Carter at Ms. Carter’s
          residence in Baltimore. I respectfully request that the Court issue an order suspending the
requirement that Ms. Rice complete a 60-day term in a community treatment center and ordering
her immediate release from Volunteers of America.

                                   Sincerely,

                                           /s/

                                   Shari Silver Derrow
                                   Assistant Federal Public Defender
